Case 1:22-cr-00015-JJM-LDA Document 12 Filed 06/30/21 Page 1 of 1 PagelD #: 55

AU 442 (Rev FETT) Arrest Warrant

UNITED STATES DISTRICT COURT

for the

District of Rhode [sland

United States of America

 

 

: 5 Case No. 1:21MJ62LDA
Mackenzy Scott YOB: 1996 )
pea » | RECEIVED
. By Dianna Prete at 9:35 am, Jun 02, 2027
ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
frame of person te be arrested) Mackenzy Scott, YOB: 1996
who is accused of an offense or violation based on the following document filed with the court:

O Indictment O Superseding Indictment O Information 7 Superseding Information tf Complaint

M1 Probation Violation Petition O) Supervised Release Violation Petition O Violation Notice O Order of the Court

This offense is briefly described as follows:

Conspiracy to Commit Bank, Wire, and Mail Fraud (18 U.S.C § 4349), Bank Fraud (18 U.S.C. § 1344), Wire Fraud (18
U.S.C. § 1343), Mail Fraud (18 U.S.C. § 1341), Access Device Fraud (18 U.S.C. § 1029(a)(5)), and Aggravated Identity
Theft (18 U.S.C. § 1028A).

Date: June 1, 2021 AGH

Issning officer's signature

City and state: — Providence, Rhode Island Lincoln D. Almond, U.S. Magistrate Judge
Printed name and title

 

Retu rn

 

 

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District of Rhode Island

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